        Case 1:17-cr-00046-RBW Document 100 Filed 02/28/18 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
       v.                                            :
                                                     :
KASSIM TAJIDEEN,                                     :
also known as                                        :
HAJ KASSIM, BIG HAJ, BIG BOSS,                       :       Case No. 1:17-CR-00046 (RBW)
QASIM TAJIDEEN, QASSIM TAJIDEEN,                     :
KASSEM TAJIDEEN, KASSIM TAJ ALDINE,                  :
KASSIM TAJ ALDIN, KASSIM TAJ AL-DIN,                 :
KASSIM TAJ AL-DINE, and                              :
KASSIM TAJADIN,                                      :
                                                     :
                      Defendant.                     :

                      GOVERNMENT’S MOTION TO EXCLUDE TIME
                           UNDER THE SPEEDY TRIAL ACT

       The United States of America, represented by undersigned counsel, per Title 18 United

States Code, Section 3161(h)(7) of the Speedy Trial Act, moves this Honorable Court for the entry

of an Order approving the exclusion of time between the February 16, 2018, status hearing and the

trial of this matter, presently scheduled for October 15, 2018, within which any trial must be

commenced upon the charges contained in the Superseding Indictment filed against the Defendant.

18 U.S.C. § 3161(h)(7)(B) identifies several factors that a court must consider in making such a

determination, including whether the failure to grant such a continuance in the proceeding would

make a continuation of such proceeding impossible, or result in a miscarriage of justice, and

whether the failure to grant such a continuance would unreasonably deny the defendant or the

Government continuity of counsel, taking into account the exercise of due diligence. See 18 U.S.C.

§§ 3161(h)(7)(B)(i) and (iv).

       In support of this request, the government relies on the following points and authorities, as

well as any others which may be raised at a hearing on this matter.
          Case 1:17-cr-00046-RBW Document 100 Filed 02/28/18 Page 2 of 3



         1. The government has conferred with the Defendant via counsel and confirmed that the
            Defendant consents to the exclusion of the period of time from February 16, 2018,
            through October 15, 2018, from the computation of time within which the trial must be
            commenced in this matter. Moreover, counsel for the Defendant has advised the
            government that counsel anticipates filing with the Court the Defendant’s written
            waiver on this topic.

         2. This matter involves complex litigation due to the nature of the prosecution. The matter
            also implicates voluminous discovery—most of which has already been provided to the
            defense. Moreover, the parties agree that it is unreasonable to expect adequate
            preparation for pretrial proceedings and the trial itself within the time limits established
            by the Speedy Trial Act.

         3. The Court has taken under advisement a number of contested defense motions, inter
            alia, a defense motion for pretrial release and six separate defense motions to dismiss.
            Further, the parties anticipate filing a number of additional substantive motions and
            filing deadlines have been confirmed and included in the Court’s Scheduling Order.

         4. At the request of the parties, the Court has ordered that the trial of this matter commence
            on October 15, 2018.

         Based on the above, the government maintains that the ends of justice are served by

excluding the proposed time from the computation of time within which the trial of this matter

must commence. Wherefore, the government requests that the Court find it to be in the interests

of justice to exclude a period of time between February 16, 2018, and October 15, 2018, from the

computation of speedy trial calculations under Title 18, United States Code, Sections 3161(h)(7)

of the Speedy Trial Act. A proposed Order is attached as Exhibit B for the convenience of the

Court.

                                                Respectfully submitted,


                                                JESSIE K. LIU
                                                United States Attorney
                                                D.C. Bar No. 472845


                                        By:     ____/S/________________________
                                                Thomas A. Gillice, D.C. Bar #452336
                                                Maia L. Miller, VA Bar # 73221

                                                   2
        Case 1:17-cr-00046-RBW Document 100 Filed 02/28/18 Page 3 of 3



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Dated: February 28, 2018




                                       3
